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                                  REDBALLOON RECRUITER ORDER FORM


  Customer: Free Speech Systems, LLC                                   Contact: Patrick Magill
  Address:                                                             Phone: 713.829.0069
   3019 Alvin Devane, Suite 210, Austin, TX, 78741              E-Mail: patrick@magillpc.com
  Services: On a per-position basis, Red Balloon LLC, an Idaho limited liability company (the “Company”) will screen,
  source and interview candidates for employment positions with Customer (each, a “Position”) using our proprietary
  process known as “RedBalloon Recruiter”, which is described more fully in the SOW (defined below) (the “Services”).
  Services Fees:                                                     Service Term: The initial term commences on the date of
                                                                     this Agreement and ends eight (8) weeks after the Position
       •    $4,500 per Position                                      is posted by the Company, following receipt of the
  For the initial Service Term, payable in advance upon the          Customer’s approval of the posting and screening criteria
  execution of this Agreement, subject to the terms of Section       for the Position. After the initial term, the term will
  4 herein.                                                          terminate automatically.

  Services Fees are non-refundable.


                                             SERVICES AGREEMENT
This Services Agreement (“Agreement”) is entered into on this _______    28th day of ________,
                                                                                        September 2023 (the “Effective
Date”) between RED BALLOON LLC, an Idaho limited liability company with a principal place of business at 104
South Main Street, Suite 200, Moscow, Idaho 83843 (“Company”), and the Customer listed above (“Customer”).
This Agreement includes and incorporates the above Order Form, as well as the attached Terms and Conditions and
contains, among other things, warranty disclaimers, liability limitations and use limitations. There shall be no force
or effect to any different terms of any related purchase order or similar form even if signed by the parties after the date
hereof.
RED BALLOON LLC                                         FREE SPEECH SYSTEMS, LLC


By:                                                     By:
Name: Aaron Youngren                                    Name: Patrick Magill
Title: Head of Product & Delivery                       Title: CRO




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                                                     TERMS AND CONDITIONS
1.       SERVICES                                                          any information that the Receiving Party can document (a) is or
                                                                           becomes generally available to the public, or (b) was in its
1.1       Company shall exercise commercially reasonable efforts
                                                                           possession or known by it prior to receipt from the Disclosing
to provide the Services to Customer during the Service Term, as
                                                                           Party, or (c) was rightfully disclosed to it without restriction by a
set out in the Order Form and the Statement of Work.
                                                                           third party, or (d) was independently developed without use of any
2.       RESTRICTIONS AND RESPONSIBILITIES                                 Proprietary Information of the Disclosing Party or (e) is required
                                                                           to be disclosed by law.
2.1      Customer represents, covenants, and warrants that
Customer will use the Services, and any materials provided in              3.2      Customer shall own all right, title and interest in and to
connection therewith, only in compliance with Company’s                    the Customer Data. Company shall own and retain all right, title
standard published policies then in effect, including without              and interest in and to (a) the Services and Software, all
limitation the terms and conditions available here:                        improvements, enhancements or modifications thereto, (b) any
https://www.redballoon.work/terms (the “Policy”) and all                   software, applications, inventions or other technology developed
applicable laws and regulations. Customer hereby agrees to                 in connection with support, (c) any data that is based on or derived
indemnify, defend and hold harmless Company against any                    from the Customer Data and provided to Customer as part of the
damages, losses, liabilities, settlements and expenses (including          Services and (d) all intellectual property rights related to any of
without limitation costs and attorneys’ fees) in connection with           the foregoing.
any claim or action that arises from an alleged violation of the
                                                                           3.3       Notwithstanding anything to the contrary, Company shall
foregoing or otherwise from Customer’s use of Services. Although
                                                                           have the right to collect and analyze data and other information
Company has no obligation to monitor Customer’s use of the
                                                                           relating to the provision, use and performance of various aspects
Services, Company may do so and may prohibit any use of the
                                                                           of the Services and related systems and technologies (including,
Services it believes may be (or alleged to be) in violation of the
                                                                           without limitation, information concerning Customer Data and
foregoing.
                                                                           data derived therefrom), and Company will be free (during and
2.2       Customer shall be responsible for obtaining and                  after the term hereof) to (i) use such information and data to
maintaining any equipment and ancillary services needed to                 improve and enhance the Services and for other development,
connect to, access or otherwise use the Services, including,               diagnostic and corrective purposes in connection with the Services
without limitation, modems, hardware, servers, software,                   and other Company offerings, and (ii) disclose such data solely in
operating systems, networking, web servers and the like                    aggregate or other de-identified form in connection with its
(collectively, “Equipment”). Customer shall also be responsible            business. No rights or licenses are granted except as expressly set
for maintaining the security of the Equipment, Customer account,           forth herein.
passwords (including but not limited to administrative and user
passwords) and files, and for all uses of Customer account or the
                                                                           4.       PAYMENT OF FEES
Equipment with or without Customer’s knowledge or consent.
                                                                           4.1       Customer will pay Company the then applicable fees
3.       CONFIDENTIALITY; PROPRIETARY RIGHTS
                                                                           described in the Order Form for the Services in accordance with
3.1      Each party (the “Receiving Party”) understands that the           the terms therein (the “Fees”). If Customer’s use of the Services
other party (the “Disclosing Party”) has disclosed or may disclose         exceeds the scope of Services set forth on the Order Form or
business, technical or financial information relating to the               otherwise requires the payment of additional fees (per the terms of
Disclosing Party’s business, including without limitation                  this Agreement), Customer shall be billed for such usage and
personally identifiable information of job candidates (hereinafter         Customer agrees to pay the additional fees in the manner provided
referred to as “Proprietary Information” of the Disclosing                 herein. Company reserves the right to change the Fees or
Party). Proprietary Information of Company includes non-public             applicable charges and to institute new charges and Fees at the end
information regarding features, functionality and performance of           of the Service Term upon thirty (30) days prior notice to Customer
the Services, including Company’s methods, data, analysis, etc.            (which may be sent by email). If Customer believes that Company
Proprietary Information of Customer includes non-public data               has billed Customer incorrectly, Customer must contact Company
provided by Customer to Company to enable the provision of the             no later than 60 days after the closing date on the first billing
Services (“Customer Data”). The Receiving Party agrees: (i) to             statement in which the error or problem appeared, in order to
take reasonable precautions to protect such Proprietary                    receive an adjustment or credit. Inquiries should be directed to
Information, and (ii) not to use (except in performance of the             Company’s customer support department.
Services or as otherwise permitted herein) or divulge to any third
                                                                           4.2       Company may choose to bill through an invoice, in which
person any such Proprietary Information. The Disclosing Party
                                                                           case, full payment for invoices issued in any given month must be
agrees that the foregoing shall not apply with respect to any
                                                                           received by Company thirty (30) days after the mailing date of the
information after five (5) years following the disclosure thereof or
                                                                           invoice. Unpaid amounts are subject to a finance charge of 1.5%




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per month on any outstanding balance, or the maximum permitted         RESPECT TO ANY SUBJECT MATTER OF THIS
by law, whichever is lower, plus all expenses of collection and        AGREEMENT OR TERMS AND CONDITIONS RELATED
may result in immediate termination of Service. Customer shall be      THERETO UNDER ANY CONTRACT, NEGLIGENCE,
responsible for all taxes associated with Services other than U.S.     STRICT LIABILITY OR OTHER THEORY: (A) FOR ERROR
taxes based on Company’s net income.                                   OR FOR LOSS OR INACCURACY OR CORRUPTION OF
                                                                       DATA OR COST OF PROCUREMENT OF SUBSTITUTE
5.       TERM AND TERMINATION
                                                                       GOODS, SERVICES OR TECHNOLOGY OR LOSS OF
5.1      Subject to earlier termination as provided below, this        BUSINESS; (B) FOR ANY INDIRECT, EXEMPLARY,
Agreement is for the Service Term as specified in the Order Form       INCIDENTAL, SPECIAL OR CONSEQUENTIAL DAMAGES;
( the “Term”).                                                         (C) FOR   ANY    MATTER    BEYOND    COMPANY’S
                                                                       REASONABLE CONTROL; OR (D) FOR ANY AMOUNTS
5.2      In addition to any other remedies it may have, either party   THAT, TOGETHER WITH AMOUNTS ASSOCIATED WITH
may also terminate this Agreement upon thirty (30) days’ notice        ALL OTHER CLAIMS, EXCEED THE FEES PAID BY
(or without notice in the case of nonpayment), if the other party      CUSTOMER TO COMPANY FOR THE SERVICES UNDER
materially breaches any of the terms or conditions of this             THIS AGREEMENT IN THE 12 MONTHS PRIOR TO THE
Agreement. Customer will pay in full for the Services up to and        ACT THAT GAVE RISE TO THE LIABILITY, IN EACH
including the last day on which the Services are provided. All
                                                                       CASE, WHETHER OR NOT COMPANY HAS BEEN
sections of this Agreement which by their nature should survive
                                                                       ADVISED OF THE POSSIBILITY OF SUCH DAMAGES.
termination will survive termination, including, without
limitation, accrued rights to payment, confidentiality obligations,
                                                                       9.       MISCELLANEOUS
warranty disclaimers, and limitations of liability.
                                                                                If any provision of this Agreement is found to be
6.       WARRANTY AND DISCLAIMER
                                                                       unenforceable or invalid, that provision will be limited or
         Company shall use reasonable efforts consistent with          eliminated to the minimum extent necessary so that this
prevailing industry standards to perform the Services in a             Agreement will otherwise remain in full force and effect and
professional and workmanlike manner. HOWEVER, COMPANY                  enforceable. This Agreement is not assignable, transferable or
DOES NOT WARRANT THAT THE SERVICES WILL BE                             sublicensable by Customer except with Company’s prior written
ERROR FREE; NOR DOES IT MAKE ANY WARRANTY AS                           consent. Company may transfer and assign any of its rights and
TO THE RESULTS THAT MAY BE OBTAINED FROM USE                           obligations under this Agreement without consent.              This
OF THE SERVICES. EXCEPT AS EXPRESSLY SET FORTH                         Agreement is the complete and exclusive statement of the mutual
IN THIS SECTION, THE SERVICES ARE PROVIDED “AS IS”                     understanding of the parties and supersedes and cancels all
AND COMPANY DISCLAIMS ALL WARRANTIES,                                  previous written and oral agreements, communications and other
EXPRESS OR IMPLIED, INCLUDING, BUT NOT LIMITED                         understandings relating to the subject matter of this Agreement,
TO, IMPLIED WARRANTIES OF MERCHANTABILITY AND                          and that all waivers and modifications must be in a writing signed
FITNESS FOR A PARTICULAR PURPOSE AND NON-                              by both parties, except as otherwise provided herein. No agency,
INFRINGEMENT.                                                          partnership, joint venture, or employment is created as a result of
                                                                       this Agreement and Customer does not have any authority of any
7.       INDEMNITY                                                     kind to bind Company in any respect whatsoever. In any action or
                                                                       proceeding to enforce rights under this Agreement, the prevailing
         Each party (the “Indemnifying Party”) agrees to               party will be entitled to recover costs and attorneys’ fees. All
indemnify, defend, and hold harmless the other party (the              notices under this Agreement will be in writing and will be deemed
“Indemnified Party”) from and against any and all third-party          to have been duly given when received, if personally delivered;
claims asserted against the Indemnified Party arising out of or        when receipt is electronically confirmed, if transmitted by
relating to the Indemnifying Party’s performance of this               facsimile or e-mail; the day after it is sent, if sent for next day
Agreement, except to the extent arising solely from the                delivery by recognized overnight delivery service; and upon
Indemnified Party’s gross negligence, willful misconduct or            receipt, if sent by certified or registered mail, return receipt
violation of applicable law.                                           requested. This Agreement shall be governed by the laws of the
                                                                       State of Idaho without regard to its conflict of laws provisions.
8.       LIMITATION OF LIABILITY                                       Customer agrees to reasonably cooperate with Company to serve
      NOTWITHSTANDING ANYTHING TO THE                                  as a reference account upon request, and authorizes Company to
CONTRARY, EXCEPT FOR BODILY INJURY OF A PERSON,                        use Customer’s branding on Company’s website and reference
COMPANY AND ITS SUPPLIERS (INCLUDING BUT NOT                           them as a customer.
LIMITED TO ALL EQUIPMENT AND TECHNOLOGY
SUPPLIERS),       OFFICERS,         AFFILIATES,
REPRESENTATIVES, CONTRACTORS AND EMPLOYEES
SHALL NOT BE RESPONSIBLE OR LIABLE WITH 3
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                                                    EXHIBIT A

                                                Statement of Work

This Statement of Work describes the services that RedBalloon LLC, an Idaho limited liability company
(“RedBalloon” or the “Company”) will perform for the Customer (“you” or the “Customer”). Capitalized terms
used but not defined in this Statement of Work will have the meaning given such terms in the Agreement.

RedBalloon Recruiter Services – Standard

During the initial Service Term the Company will provide the following services:

    1.   RedBalloon will schedule a 30-minute discovery session with you to understand your company values and
         vision for your workplace culture, as well as particular skill requirements for the Position.
    2.   RedBalloon will then create screening criteria and questions for the Position based on those values and that
         vision. The screening criteria, questions and job description for the Position will be reviewed and approved
         by the Customer prior to posting on the RedBalloon job board.
    3.   RedBalloon will screen incoming candidates on the RedBalloon platform and other platforms as needed.
    4.   RedBalloon will interview candidates to determine if candidates fit the culture and values of your company.
    5.   RedBalloon will send a one-page recommendation to you immediately for any candidates identified through
         the interview process who satisfy your screening criteria for the Position. Candidates who do not meet the
         screening criteria are not recommended to you in real-time but are included in a weekly report.
    6.   RedBalloon will communicate with all candidates and notify them of their status throughout the screening
         process.
    7.   RedBalloon will utilize marketing and recruitment strategies to increase candidate flow for the Position.
    8.   RedBalloon will send you a weekly report including real-time data obtained for your business about the
         Position (including, for example, market salary expectations, number of candidates that meet your criteria in
         a given industry, location, etc.).




EXHIBIT A
